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                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF ARKANSAS
                                    EL DORADO DIVISION

JOHNNY NOVICK, Individually and
on Behalf of All Others Similarly Situated                                                        PLAINTIFF

v.                                         Case No. 1:21-cv-1017

CAM PIZZA, LLC and
CALVIN E. BARCOMB                                                                             DEFENDANTS

                                                   ORDER

         Before the Court is Plaintiff’s Notice of Voluntary Dismissal. (ECF No. 4). The Court finds

that no response is necessary and that the matter is ripe for consideration.

         A plaintiff “may dismiss an action without a court order by filing . . . a notice of dismissal

before the opposing party serves either an answer or a motion for summary judgment.” Fed. R.

Civ. P. 41(a)(1)(A)(i). Defendant has not filed an answer or a summary judgment motion, thus

Plaintiff is entitled to dismiss his case pursuant to Rule 41(a)(1)(A)(i). Accordingly, this case is

DISMISSED WITOUT PREJUDICE.1

         IT IS SO ORDERED, this 8th day of June, 2021.
                                                                      /s/ Susan O. Hickey
                                                                      Susan O. Hickey
                                                                      Chief United States District Judge




1
 This case was effectively dismissed when Plaintiff filed his Notice of Voluntary Dismissal (ECF No. 4) on June 4,
2021.
